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                 4                                     UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                        ***
                 7       UNITED STATES OF AMERICA,                                Case No. 2:13-CR-18 JCM (GWF)
                 8                                                Plaintiff(s),                    ORDER
                 9               v.
               10        LEON BENZER, et al.,
               11                                               Defendant(s).
               12
               13
               14       reconsider bail pending appeal. (Doc. #714). The government filed a response, (doc. #734);
               15       defendant did not file a reply.
               16          I.         Background
               17                The facts of the instant case are familiar to the court and the parties. On January 15, 2013,
               18       the grand jury returned an indictment charging defendant with one count of conspiracy to commit
               19       wire and mail fraud in violation of 18 U.S.C. § 1349, two counts of wire fraud in violation of 18
               20       U.S.C. § 1343, and one count of mail fraud in violation of 18 U.S.C. § 1341. (Doc #1). A jury
               21       convicted defendant on all counts, and defendant was sentenced to twenty-four months
               22       imprisonment per count to run concurrently and three years of supervised release. Thereafter,
               23       defendant filed a notice of appeal. (Doc. #691). Defendant had previously filed a motion for bail
               24       pending appeal (doc. #655), which was denied by this court. (Doc. #703).
               25          II.        Legal Standard
               26                     a. Motion to reconsider
               27
               28                           Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000).

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                1     Reconsideration is appropriate if the district court (1) is presented with newly discovered evidence,
                2     (2) committed clear error or the initial decision was manifestly unjust, or (3) if there is an
                3     intervening change in controlling law. Dixon v. Wallowa County, 336 F.3d 1013, 1022 (9th Cir.
                4     2003); Fed. R. Civ. P. 60(b).
                5                                                                                             Kona Enters,
                6     229 F.3d at 890; see also United States v. Ward, Case No. 2:14-cr-00306-LDG-NJK, 2015 U.S.
                7     Dist. LEXIS 47103, 10-11 (D. Nev. 2015) (Koppe, M.J.) (applying these civil reconsideration
                8     standards to a criminal case).
                9                   b. Bail pending appeal

              10              A person who has been found guilty of an offense and sentenced to a term of imprisonment
              11      should be detained pending appeal, unless the court finds:
              12             (A) by clear and convincing evidence that the person is not likely to flee or pose a
              13             danger to the safety of any other person or the community if released . . . . ; and (B)
              14             that the appeal is not for the purpose of delay and raises a substantial question of
              15             law or fact likely to result in    (i) reversal, (ii) an order for a new trial, (iii) a
              16             sentence that does not include a term of imprisonment, or (iv) a reduced sentence
              17             to a term of imprisonment less than the total of the time already served plus the
              18             expected duration of the appeal process.
              19      18 U.S.C. § 3143(b).
              20             A defendant has the burden of proving that a substantial question exists. United
              21      States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985). A substantial question is one that is
              22                                               Id.
              23                                                Handy, present an appeal that will likely be successful,
              24      only a non-
              25                                                      United States v. Garcia, 340 F.3d 1013, 1021 n.5
              26      (9th Cir. 2003).
              27      ...
              28      ...

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                1           III.      Discussion

                2                      a. Motion to reconsider

                3                  Without presenting any evidence or argument that might even begin to address the Dixon
                4     standard, defendant baldly asserts that this court should vacate its earlier order denying bail
                5     pending appeal simply                                                          . Defendant presents no
                6     newly discovered evidence. Defendant fails to demonstrate how the court committed clear error or
                7     was manifestly unjust by denying the motion. Finally, defendant provides no evidence to suggest
                8     that there has been any change in controlling case law that would support his motion.
                9
              10      motion for bail pending appeal. Indeed, the Ninth Circuit has held that a motion for reconsideration
              11      may not be used as a vehicle by which a losing party raises arguments for the first time when they
              12      should have reasonably been raised earlier in litigation. Kona Enters, 229 F.3d at 890. Yet that is
              13      precisely what defendant attempts to do here.
              14      appeal is therefore denied.
              15                       b. Additional Detail

              16                   Even if defendant had properly raised his concerns during his first motion for bail pending
              17      appeal, his arguments are unconvincing. While this motion provides somewhat more detail
              18      concerning the purported questions of law or fact on appeal, none of the evidence presented is
              19      likely to result in reversal, a new trial, or any sentence reduction that would justify bail pending
              20      resolution of these questions.
              21                               i. Flight Risk

              22                   The parties agree                                                           that defendant
              23      is not a significant flight risk or a danger to the community. (Docs # 655, 681). Accordingly, the
              24      remaining question before the court is whether the appeal raises a substantial question of law or
              25      fact such that reversal is likely. 18 U.S.C. § 3143(b)(1)(B).
              26      ...
              27      ...
              28      ...

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                1                            ii. Substantial question of law

                2                                     1.

                3                                                 [t]hroughout the trial, the Court entered an Order granting the
                                                                                                1
                4     Motion in limine
                5     introduce evidence of his mental and physical health because his health at the time the crimes were
                6
                7                                                                                                                  l because
                8     defendant did not introduce this evidence at trial. In fact, the court memorialized that exact point
                9                                                                                                              in limine on
              10      the basis that it was then moot. (Doc. #536 (                                                              Honorable
              11      Judge James C. Mahan, as to Salvatore Ruvolo on 3/17/2015. Presently before the court is the
              12                                  in limine
              13      condition. (Doc. #494). Defendant did not attempt to introduce this evidence at trial. The motion
              14      is therefore d                                             ). The strategic decision by defense counsel not to
              15      introduce these medical records does not justify bail pending appeal.
              16               Furthermore, the motion moved to exclude medical records only
              17      health during the conspiracy and then both physical and mental health after the conspiracy ended.
              18      The government even
              19      health at the time of the conspiracy could have been relevant to his intent. (Doc.
              20                                                                                                                 from 2003
              21      to 2008      may be relevant to his ability to form the requisite intent for these crimes.
              22                                                                               in limine, which it did not, and even if
              23      that motion in limine
              24      after the conspiracy, which, again,                       in limine rulings are not binding on the trial judge
              25                                                                                       Ohler v. United States, 529 U.S.
              26      753, 758 n.3 (2000); accord Luce, 469 U.S. at 41 (noting that in limine rulings are always subject
              27
                               1
                                Despite this court's considerable powers, even it is constrained by the time-space continuum and cannot
              28      perform a single, discrete act, such as granting an individual motion, continuously throughout a trial. Even if it could,
                      the defendant's claim would still be wildly off base.
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                1     to change, especially if the evidence unfolds in an unanticipated manner). Judges have broad
                2     discretion when ruling on motions in limine. See Jenkins v. Chrysler Motors Corp., 316 F.3d 663,
                3     664 (7th Cir. 2002); see also Trevino v. Gates
                4     has considerable latitude in performing a Rule 403 balancing test and we will uphold its decision
                5     absent clea                                   court had granted a hypothetical motion in limine to
                6                                                                        still free to raise the issue at trial
                7     and discuss its probative value with the court then. That was particularly true during this trial, as
                8     this court did not grant any version of a motion in limine limiting admission
                9     records.
              10              Defendant did not call a medical records custodian as a witness, nor did he notice an expert
              11                                                                             tion at the time of the offense.
              12
              13      does not rise to the level of a substantial question.
              14              In an attempt to bolster the contention that                             s create a substantial
              15      question on appeal, defendant offers evidence that a defense investigator said that one juror told
              16
              17                                                  ght not have been able to find the defendant guilty. (Doc.
              18      #714). As the government rightly pointed out, since the juror has no idea what is contained in
              19
              20      is highly speculative at best. Such speculation certainly does not rise to the level of a substantial
              21      question likely to result in reversal.
              22                      2. Sufficiency of the Evidence, Witness Testimony, Cooperation
              23              Defendant                                   cant concerns fo
              24
              25
              26      correctly points out how absurd this argument is. If the government produced millions of pages of
              27      discovery, the argument should not be about whether there was sufficient evidence, but whether
              28      there was a surplusage of evidence. If defense counsel did not have adequate time to prepare for

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                1     trial, he should raise a denial of necessary preparation time on appeal. 2 However, he failed to make
                2     that argument in the original motion for bail pending appeal and fail once again to do so here.
                3             Defendant then attempts to discredit his conviction by claiming that the government
                4     presented
                5
                6     witnesses at trial were cooperators, and those that were disclosed that fact in open court on direct
                7     examination. More importantly, the credibility of all witnesses is left for the jury to decide, and
                8     cannot form the basis of a substantial question of law or fact likely to be reversed on appeal.
                9             In determining whether there is sufficient evidence,
              10
              11      have found the essential elements of the crime beyond a r                                    United States v.
              12      Inzuma, 638 F.3d 1006, 1013 (9th Cir. 2009) (emphasis in original) (quoting Jackson v. Virginia,
              13      443 U.S. 307, 319 (1979)). Whether during a post-trial Rule 29(c) motion or on appeal on a
              14      sufficiency-of-the-evidence challenge, courts must respect the exclusive provenance of the trier of
              15                                                                             tiary conflicts, and draw reasonable
              16                                          United States v. Alarcon-Simi, 300 F.3d 1172, 1176 (9th Cir. 2002);
              17      see also United States v. Hubbard, 96 F.3d 1223, 1226 (9th Cir. 1996) (holding that the appellate
              18                                  e exclusive province of the fact finder to determine the credibility of
              19
              20      assessing a sufficiency-of-the-evidence claim) (citation omitted).
              21              The jury found, beyond a reasonable doubt, that defendant was a co-conspirator in the
              22      Benzer HOA scheme designed to take over Las Vegas HOAs. Any rational trier could have found
              23                                                                                         The jury heard more than
              24      eno
              25
              26              2
                                  Defendant filed a motion to continue (Doc. #463) approximately one month before trial. However, that
              27      for trial                                           In fact, the court was receptive to such arguments when they
                      were made. When defendant and his co-defendants requested a continuance because they had received a large amount
              28      of discovery from the government, the court granted their motion continued the trial from October 13, 2014, until
                      February 23, 2015. (Doc. #346).
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                1                                                                               do not present a substantial
                2     question of law or fact.
                3                 Fin                                              was forged on numerous documents by
                4
                5
                6     #714.)
                7                 William Leaver, the only handwriting expert to testify at trial, did not offer any opinions
                8
                9     consider that some of the signatures may have been forged; Anthony Wilson testified that he forged
              10                                                   ors
              11      participation in the scheme and they convicted him.
              12                  While defendant argues that other substantial questions exist, he fails to specify or provide
              13      sufficient detail as to the issues that he contends warrant reversal. Defendant claims that he has
              14                                           could
              15      have yet to be identified. (Doc. 714 (emphasis added)) First, the court would like to remind
              16                                                                                                         likely
              17                                     18 U.S.C. § 3143(b) (emphasis added). Second, defendant has had ample
              18      time to come up with these arguments and ample resources to obtain the necessary materials to do
              19                                                                                                    See United
              20      States v. Montoya, 908 F.2d 450 (9th Cir. 1990) (denying motion for bail pending appeal where
              21      defendant summarily referenced appeal issues without explaining basis for arguments).
              22            IV.         Conclusion

              23            For the foregoing reasons, defendant has failed to meet his burden of persuasion. As already
              24      stated, defendant has been provided more than sufficient opportunity to respond and refute the
              25                                         still fails to do so.
              26      ...
              27      ...
              28      ...

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                1            Accordingly,
                2                                                                                          to
                3     reconsider bail pending appeal, (doc. #714), be, and the same hereby is, DENIED.
                4            DATED December 23, 2015.
                5
                6                                         ___________________________________________
                                                          UNITED STATES DISTRICT JUDGE
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